Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF OREGON

Case number (if known)      18-32288-pcm7                                   Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Three J's Distributing, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  PO Box 2890                                                     PO Box 2890
                                  Clackamas, OR 97015                                             Clackamas, OR 97015
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Clackamas                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                            Case 18-32288-pcm7                  Doc 31         Filed 09/11/18
Debtor    Three J's Distributing, Inc.                                                                 Case number (if known)    18-32288-pcm7
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                                Case 18-32288-pcm7                   Doc 31          Filed 09/11/18
Debtor   Three J's Distributing, Inc.                                                              Case number (if known)   18-32288-pcm7
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                            Case 18-32288-pcm7                     Doc 31         Filed 09/11/18
Debtor    Three J's Distributing, Inc.                                                             Case number (if known)   18-32288-pcm7
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 11, 2018
                                                  MM / DD / YYYY


                             X   /s/ Jon Jones                                                            Jon Jones
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Nicholas J. Henderson OR:                                             Date September 11, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Nicholas J. Henderson OR:
                                 Printed name

                                 Motschenbacher & Blattner, LLP
                                 Firm name

                                 117 SW Taylor St., Suite 300
                                 Portland, OR 97204
                                 Number, Street, City, State & ZIP Code


                                 Contact phone                                   Email address


                                 074027
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                                           Case 18-32288-pcm7                     Doc 31         Filed 09/11/18
 Fill in this information to identify the case:

 Debtor name         Three J's Distributing, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)         18-32288-pcm7
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          September 11, 2018                      X /s/ Jon Jones
                                                                       Signature of individual signing on behalf of debtor

                                                                       Jon Jones
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                 Case 18-32288-pcm7                       Doc 31            Filed 09/11/18
 Fill in this information to identify the case:

 Debtor name            Three J's Distributing, Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF OREGON

 Case number (if known)               18-32288-pcm7
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $           648,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $                    0.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           648,000.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           982,709.34


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            16,072.46

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        9,004,242.63


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         10,003,024.43




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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                                                           Case 18-32288-pcm7                                      Doc 31                Filed 09/11/18
 Fill in this information to identify the case:

 Debtor name         Three J's Distributing, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)         18-32288-pcm7
                                                                                                                            Check if this is an
                                                                                                                            amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                           12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                          Current value of
                                                                                                                            debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                 0.00    -                                0.00 = ....                 Unknown
                                              face amount                        doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                                $0.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 1
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                                                 Case 18-32288-pcm7                Doc 31        Filed 09/11/18
 Debtor         Three J's Distributing, Inc.                                                  Case number (If known) 18-32288-pcm7
                Name


        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of       Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest       for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2008 Freightliner Sleeper Truck-Tractor
                     VIN 1FUJBBCK88LZ83133
                     Located at SE Elon St. Property                                    $7,000.00     Debtor Estimate                     Unknown


           47.2.     Great Dane Trailer
                     VIN: 1GRAA0624XB017544
                     located at Hagerman, Inc., Portland, OR                            $3,000.00     Debtor Estimate                     Unknown


           47.3.     4 Trailers located at Richie Bros. in
                     Chehalis, WA
                     Unknown year, make, model                                         Unknown                                            Unknown


           47.4.     1 Trailer located at Richie Bros. in Los
                     Angeles, CA
                     Unknown year, make, model                                         Unknown                                            Unknown


           47.5.     1 Trailer located at Richie Bros. in
                     Sacramento, CA
                     Unknown year, make, model                                         Unknown                                            Unknown



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 2
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                                                 Case 18-32288-pcm7                Doc 31         Filed 09/11/18
 Debtor         Three J's Distributing, Inc.                                                  Case number (If known) 18-32288-pcm7
                Name



 51.        Total of Part 8.                                                                                                                 $0.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used   Current value of
            property                                      extent of           debtor's interest        for current value       debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. Yard and Yard House
                     9812 SE Elon Street
                     Clackamas, OR 97015                  Fee simple                        $0.00      Comparable sale                   $648,000.00




 56.        Total of Part 9.                                                                                                           $648,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used    Current value of
                                                                              debtor's interest        for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 3
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                                                 Case 18-32288-pcm7                Doc 31         Filed 09/11/18
 Debtor         Three J's Distributing, Inc.                                                   Case number (If known) 18-32288-pcm7
                Name

            Registered trademarks:
            1) Bread Dude
            2) Cascade Pride
            3) Nouvelle Boulangerie
            4) Wellness Watch

            Non-Registered Trademarks:
            1) 5th Avenue Bagels
            2) Country Crisp                                                              Unknown                                                Unknown



 61.        Internet domain names and websites
            www.cascadepride.com
            www.3js.com                                                                   Unknown                                                Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                       $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                                     Current value of
                                                                                                                                     debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
                                                                                    0.00 -                                  0.00 =
            Shareholder Loan to Jon Jones                             Total face amount      doubtful or uncollectible amount                    Unknown


                                                                                    0.00 -                                  0.00 =
            Shareholder Loan to Florin Ioenscu                        Total face amount      doubtful or uncollectible amount                    Unknown



 72.        Tax refunds and unused net operating losses (NOLs)
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                        page 4
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                                                 Case 18-32288-pcm7                 Doc 31       Filed 09/11/18
 Debtor         Three J's Distributing, Inc.                                                 Case number (If known) 18-32288-pcm7
                Name

           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)
           Potential lender liability claims against Sterling National
           Bank                                                                                                                          Unknown
           Nature of claim            Contract, Business Tort
           Amount requested                                $0.00



           Potential claims against Bridgepoint Consulting                                                                               Unknown
           Nature of claim         Contract, Business Tort
           Amount requested                            $0.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                                $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 5
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                                                 Case 18-32288-pcm7                Doc 31      Filed 09/11/18
 Debtor          Three J's Distributing, Inc.                                                                        Case number (If known) 18-32288-pcm7
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                        $648,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                      $0.00       + 91b.              $648,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $648,000.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                         page 6
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                                                     Case 18-32288-pcm7                              Doc 31             Filed 09/11/18
 Fill in this information to identify the case:

 Debtor name         Three J's Distributing, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)             18-32288-pcm7
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
       Christopher & Cheryl
 2.1                                                                                                                       $864,709.34                  Unknown
       Church                                         Describe debtor's property that is subject to a lien
       Creditor's Name                                Substantially all of the Debtor's personal
       c/o Darin Honn                                 property granted as collateral to secure
       Sussman Shank                                  shareholders' personal obligations to creditor
       1000 SW Broadway, Suite
       1400
       Portland, OR 97204
       Creditor's mailing address                     Describe the lien
                                                      Non-Purchase Money Security
       dhonn@sussmanshank.co                          Is the creditor an insider or related party?
       m                                                 No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       1/1/2006                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       n/a
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Columbia Oregon 98th
 2.2                                                  Describe debtor's property that is subject to a lien                     Unknown                  Unknown
       Industrial, LLC
       Creditor's Name                                Personal property, and proceeds therefrom,
                                                      located at leased premises as of 5/4/18
       120 N. LaSalle St., Ste 2900
       Chicago, IL 60602
       Creditor's mailing address                     Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2018                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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                                                  Case 18-32288-pcm7                       Doc 31         Filed 09/11/18
 Debtor        Three J's Distributing, Inc.                                                            Case number (if know)      18-32288-pcm7
               Name

        n/a
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



        Oregon Pioneer Fed. Credit
 2.3                                                                                                                           $118,000.00         $648,000.00
        Union                                         Describe debtor's property that is subject to a lien
        Creditor's Name                               Yard and Yard House
                                                      9812 SE Elon Street
        17884 SE McLoughlin Blvd.                     Clackamas, OR 97015
        Portland, OR 97267
        Creditor's mailing address                    Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
        kelly@oregonpioneer.org                          No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        3/4/2011                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        1201
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.              $982,709.34

 Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         Christopher & Cheryl Church
         5433 SE Scenic Ln., #200                                                                               Line   2.1
         Vancouver, WA 98661

         Columbia Oregon 98th Industrial, LLC
         c/o KJim Dulcich                                                                                       Line   2.2
         Schwabe, Williamson & Wyatt
         1211 SW Fifth Ave., Suite 1900
         Portland, OR 97204




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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                                                   Case 18-32288-pcm7                      Doc 31         Filed 09/11/18
 Fill in this information to identify the case:

 Debtor name         Three J's Distributing, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)           18-32288-pcm7
                                                                                                                                                    Check if this is an
                                                                                                                                                    amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                      Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                            $489.05          $489.05
           California Franchise Tax Board                            Check all that apply.
           PO Box 942857                                                Contingent
           Sacramento, CA 94257-0531                                    Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           10/31/2017                                                CA State Corporate Tax

           Last 4 digits of account number 2514                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                            $560.00          $560.00
           Jeff Hartung                                              Check all that apply.
           14931 SE Newport St.                                         Contingent
           Portland, OR 97230                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2018                                                      Accrued Vacation
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 27
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                                                 Case 18-32288-pcm7                            Doc 31                Filed 09/11/18
 Debtor       Three J's Distributing, Inc.                                                                    Case number (if known)   18-32288-pcm7
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,552.78    $1,552.78
          Kelly Edwards                                              Check all that apply.
          12671 Villard Pl.                                             Contingent
          Oregon City, OR 97045                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2018                                                       Accrued Vacation Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $5,877.13    $5,877.13
          Kevin Barden                                               Check all that apply.
          205 Probe St.                                                 Contingent
          Molalla, OR 97038                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2018                                                       Accrued Vacation Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,020.00    $1,020.00
          Paul Conn                                                  Check all that apply.
          6565 SE Alberta St.                                           Contingent
          Portland, OR 97206                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2018                                                       Accrued Vacation Pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $237.50    $237.50
          Ryan Stell                                                 Check all that apply.
          10524 SE 34th Ave.                                            Contingent
          Apt. 15                                                       Unliquidated
          Portland, OR 97222                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:
          2018                                                       Accrued Vacation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 27
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 Debtor       Three J's Distributing, Inc.                                                                    Case number (if known)          18-32288-pcm7
              Name

 2.7       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                        $336.00     $336.00
           Tammy Lay                                                 Check all that apply.
           POB 695                                                      Contingent
           Oregon City, OR 97045                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2018                                                      Accrued Vacation Pay
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.8       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $6,000.00    $6,000.00
           Tarrant County, Texas                                     Check all that apply.
           c/o Linebarger, Goggan, Blair &                              Contingent
           Sampson                                                      Unliquidated
           Attorneys at Law                                             Disputed
           100 Throckmorton Street, Suite
           300
           Fort Worth, TX 76102-2833
           Date or dates debt was incurred                           Basis for the claim:
           2017                                                      Taxes Owed

           Last 4 digits of account number 6051                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                        $90.00
           Ace Mobile Wash                                                             Contingent
           2928 N 35th Ave.                                                            Unliquidated
           Suite 4                                                                     Disputed
           Phoenix, AZ 85017
                                                                                   Basis for the claim:     Services Rendered
           Date(s) debt was incurred     2018
           Last 4 digits of account number                                         Is the claim subject to offset?      No      Yes


 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $599.50
           ADP                                                                         Contingent
           465 N. Halstead St.                                                         Unliquidated
           Suite 160                                                                   Disputed
           Pasadena, CA 91107
                                                                                   Basis for the claim:     Payroll Services
           Date(s) debt was incurred     2018
           Last 4 digits of account number      8489;9883                          Is the claim subject to offset?      No      Yes


 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $2,081.00
           Aerotak Commercial Staffing                                                 Contingent
           PO Box 198531                                                               Unliquidated
           Atlanta, GA 30384                                                           Disputed
           Date(s) debt was incurred 2018
                                                                                   Basis for the claim:     Services Rendered
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?      No      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 3 of 27
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                                                 Case 18-32288-pcm7                            Doc 31                Filed 09/11/18
 Debtor       Three J's Distributing, Inc.                                                            Case number (if known)            18-32288-pcm7
              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $167.31
          Air Flow Systems, Inc.                                                Contingent
          5272 SE International Way                                             Unliquidated
          Portland, OR 97222                                                    Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Purchases Made
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $688.23
          Airgas, Inc.                                                          Contingent
          PO Box 7423                                                           Unliquidated
          Pasadena, CA 91109                                                    Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Purchases Made
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $883.59
          All American First Aid & CPR                                          Contingent
          16055 SE Walker Rd.                                                   Unliquidated
          Suite 196                                                             Disputed
          Beaverton, OR 97006
                                                                             Basis for the claim:    Services Rendered
          Date(s) debt was incurred 2018
          Last 4 digits of account number 3408;3512                          Is the claim subject to offset?     No       Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $230.85
          Allegiance Cobra Services, Inc.                                       Contingent
          PO Box 2097                                                           Unliquidated
          Missoula, MT 59806                                                    Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,192.04
          Alliance Packaging, LLC                                               Contingent
          PO Box 748075                                                         Unliquidated
          Los Angeles, CA 90074                                                 Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Purchases Made
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,033.70
          Allstream Business US, Inc.                                           Contingent
          PO Box 2966                                                           Unliquidated
          Milwaukee, WI 53201                                                   Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,361.60
          Alpine Valley Bread Company                                           Contingent
          PO Box 1322                                                           Unliquidated
          Mesa, AZ 85211                                                        Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Purchases Made
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 4 of 27
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 Debtor       Three J's Distributing, Inc.                                                            Case number (if known)            18-32288-pcm7
              Name

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,400.00
          Altus GTS, Inc.                                                       Contingent
          2400 Veterans Memorial Blvd.                                          Unliquidated
          Suite 300                                                             Disputed
          Clackamas, OR 97015
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred 2018
          Last 4 digits of account number 3110                               Is the claim subject to offset?     No       Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $56.18
          Andy Gump, Inc.                                                       Contingent
          26954 Reuther Ave.                                                    Unliquidated
          Canyon Country, CA 91351                                              Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number 1320
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,315.23
          Arlington Independent School District                                 Contingent
          500 East Border                                                       Unliquidated
          Ste 640                                                               Disputed
          Arlington, TX 76010
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred 2018
          Last 4 digits of account number 7494                               Is the claim subject to offset?     No       Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Arthur Cavanaugh                                                      Contingent
          c/o William Turley                                                    Unliquidated
          7428 Trade St.                                                        Disputed
          San Diego, CA 92111
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred      2018
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $316.33
          AT&T 661 & 916                                                        Contingent
          PO Box 5025                                                           Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Services Rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $594.57
          AT&T Commerce 323                                                     Contingent
          PO Box 5025                                                           Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Services Rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $216.86
          AT&T SAC 131                                                          Contingent
          PO Box 5014                                                           Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Services Rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Three J's Distributing, Inc.                                                            Case number (if known)            18-32288-pcm7
              Name

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $212.34
          Athens Services                                                       Contingent
          PO Box 60009                                                          Unliquidated
          City of Industry, CA 91716                                            Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Services Rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $21,266.00
          Backjack, LLC                                                         Contingent
          4017 SW Edmunds St.                                                   Unliquidated
          Seattle, WA 98116                                                     Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Bank of America                                                       Contingent
          PO Box 15796                                                          Unliquidated
          Wilmington, DE 19886                                                  Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Credit Card
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,685.82
          Begin Right, Inc.                                                     Contingent
          Dept. 34001                                                           Unliquidated
          PO Box 39000                                                          Disputed
          San Francisco, CA 94139
                                                                             Basis for the claim:    Services Rendered
          Date(s) debt was incurred 2018
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $737.00
          Bennett/Porter & Associates, Inc.                                     Contingent
          12559 SW 69th Ave.                                                    Unliquidated
          Portland, OR 97233                                                    Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number JDIS
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,899.67
          Betts Spring Company, Inc.                                            Contingent
          4334 NE Columbia Blvd.                                                Unliquidated
          Portland, OR 97218                                                    Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $6.99
          Brattain International Trucks                                         Contingent
          POB 11287                                                             Unliquidated
          Portland, OR 97211                                                    Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Three J's Distributing, Inc.                                                            Case number (if known)            18-32288-pcm7
              Name

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $95,720.00
          Carriernet Group Financial                                            Contingent
          PO Box 1130                                                           Unliquidated
          Sioux Falls, SD 57101                                                 Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Line of Credit
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $44,349.05
          Carson Oil                                                            Contingent
          PO Box 6030                                                           Unliquidated
          Portland, OR 97208                                                    Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Purchases Made
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          CDS SoCal                                                             Contingent
          220 W. Santa Ana St.                                                  Unliquidated
          Anaheim, CA 92805                                                     Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,300.00
          Cintas #053                                                           Contingent
          Cintas LOC                                                            Unliquidated
          PO Box 29059                                                          Disputed
          Phoenix, AZ 85038
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          City of Portland                                                      Contingent
          Code Hearings Office                                                  Unliquidated
          1900 SW 4th Ave., Room 3100                                           Disputed
          Portland, OR 97201
                                                                                            Towed Vehicle Charges
                                                                             Basis for the claim:
          Date(s) debt was incurred
                                                                             2004 Chevrolet Suburban
          Last 4 digits of account number                                    VIN: 1GNFK16Z24J254641
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $233.00
          Clark Pest Control                                                    Contingent
          555 N. Guild Ave.                                                     Unliquidated
          Lodi, CA 95240                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services Rendered
          Last 4 digits of account number       0856
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $866,238.50
          Coffee Bean International, Inc.                                       Contingent
          PO Box 732855                                                         Unliquidated
          Dallas, TX 75373                                                      Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Purchases Made
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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                                                 Case 18-32288-pcm7                     Doc 31            Filed 09/11/18
 Debtor       Three J's Distributing, Inc.                                                            Case number (if known)            18-32288-pcm7
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 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $731.91
          Comcast                                                               Contingent
          PO Box 34744                                                          Unliquidated
          Seattle, WA 98124                                                     Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Services Rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $966.42
          Comfort Suites                                                        Contingent
          15929 SE McKinley Ave.                                                Unliquidated
           OR 97105                                                             Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,573.44
          Compack USA                                                           Contingent
          9333 SE McBroad Ave.                                                  Unliquidated
          Portland, OR 97222                                                    Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number       9459;0155;9949
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $56,740.02
          Coyote Logistics, LLC                                                 Contingent
          PO Box 742636                                                         Unliquidated
          Atlanta, GA 30374                                                     Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,243.16
          Cushman                                                               Contingent
                                                                                Unliquidated
          Los Angeles, CA 90065                                                 Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number       118B
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,026.95
          Dave's Killer Bread                                                   Contingent
          PO Box 398443                                                         Unliquidated
          San Francisco, CA 94139                                               Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Purchases Made
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,015.00
          Discovery Auto Glass                                                  Contingent
          PO Box 441                                                            Unliquidated
          Fairview, OR 97024                                                    Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $13,242.24
          Don Pancho Authentic Mexican Food                                     Contingent
          PO Box 742958                                                         Unliquidated
          Los Angeles, CA 90074                                                 Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Purchases Made
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $26,565.79
          Eagle Foods                                                           Contingent
          c/o ABC Amega                                                         Unliquidated
          Richfield, OH 44286                                                   Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Purchases Made
          Last 4 digits of account number       6300
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $42.75
          Earth 20                                                              Contingent
          PO Box 70                                                             Unliquidated
          Culver, OR 97734                                                      Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Purchases Made
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,568.72
          EnerG Foods, Inc.                                                     Contingent
          5960 1st Ave. S.                                                      Unliquidated
          Black Diamond, WA 98010                                               Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Purchases Made
          Last 4 digits of account number 1THR
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,583.34
          Ernest Packaging Solutions                                            Contingent
          2051 Royal Ave.                                                       Unliquidated
          Simi Valley, CA 93065                                                 Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Purchases Made
          Last 4 digits of account number S001
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,260.00
          Eroad, Inc.                                                           Contingent
          7618 SW Mohawk St.                                                    Unliquidated
          Tualatin, OR 97062                                                    Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $56,756.19
          Eurobake Corporation                                                  Contingent
          5917 NE 80th Ave.                                                     Unliquidated
          Portland, OR 97218                                                    Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Purchases Made
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $611.01
          Express Employment Professionals                                      Contingent
          1433 N. Montebello Blvd.                                              Unliquidated
          Montebello, CA 90640                                                  Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Services Rendered
          Last 4 digits of account number 0029
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $611.01
          Express Personnel Services                                            Contingent
          PO Box 844277                                                         Unliquidated
          Los Angeles, CA 90084                                                 Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Services Rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $142.00
          Express Pressure Wash, Inc.                                           Contingent
          PO Box 3101                                                           Unliquidated
          Nampa, ID 83653                                                       Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Services Rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $219.00
          Eyes There                                                            Contingent
          19363 Willemette Dr. #210                                             Unliquidated
          West Linn, OR 97068                                                   Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $20.00
          FasTrak                                                               Contingent
          PO Box 26925                                                          Unliquidated
          San Francisco, CA 94126                                               Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Services Rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $18.45
          FedEx                                                                 Contingent
          PO Box 7221                                                           Unliquidated
          Pasadena, CA 91109                                                    Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Services Rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $51,272.75
          Fisher & Phillips LLP                                                 Contingent
          1075 Peachtree St. NE                                                 Unliquidated
          Atlanta, GA 30309                                                     Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Services Rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $873.64
          Fleet Net America                                                     Contingent
          PO Box 970                                                            Unliquidated
          PO Box 970                                                            Disputed
          Cherryville, NC 28021
                                                                             Basis for the claim:    Trade Debt
          Date(s) debt was incurred 2018
          Last 4 digits of account number       1469;7430                    Is the claim subject to offset?     No       Yes


 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $142.55
          Fleet Pride, Inc.                                                     Contingent
          PO Box 847118                                                         Unliquidated
          Dallas, TX 75284                                                      Disputed
          Date(s) debt was incurred      2018                                Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $352,551.50
          Franz Family Bakeries                                                 Contingent
          501 SE Columbia Shores Blvd.                                          Unliquidated
          Suite 900                                                             Disputed
          Vancouver, WA 98661
                                                                             Basis for the claim:    Purchases Made
          Date(s) debt was incurred 2018
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,891.79
          Franz Family Bakeries Nampa                                           Contingent
          501 SE Columbia Shores Blvd.                                          Unliquidated
          Suite 900                                                             Disputed
          Vancouver, WA 98661
                                                                             Basis for the claim:    Purchases Made
          Date(s) debt was incurred 2018
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $17,509.65
          Franz Family Bakery                                                   Contingent
          501 SE Columbia Shores Blvd.                                          Unliquidated
          Suite 900                                                             Disputed
          Vancouver, WA 98661
                                                                             Basis for the claim:    Purchases Made
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $611.77
          Genuine Parts Company, Inc.                                           Contingent
          File 56893                                                            Unliquidated
          Los Angeles, CA 90074                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $874.78
          Gerlock Towing                                                        Contingent
          7821 NE 33rd Dr.                                                      Unliquidated
          Portland, OR 97211                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7358
                                                                             Is the claim subject to offset?     No       Yes




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 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $98,000.00
          Go Trade Logistics Corp.                                              Contingent
          PO Box 340661                                                         Unliquidated
          Sacramento, CA 95834                                                  Disputed
          Date(s) debt was incurred 2017-2018
                                                                             Basis for the claim:    Services Rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $29,509.92
          Gold Coast Bakery                                                     Contingent
          1802 W. Olympic Blvd.                                                 Unliquidated
          Pasadena, CA 91199                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Purchases Made
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $421.20
          Golden State Overnight                                                Contingent
          PO Box 1907                                                           Unliquidated
          San Ramon, CA 94583                                                   Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Services Rendered
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $52.50
          Good To Go                                                            Contingent
          PO Box 300326                                                         Unliquidated
          Seattle, WA 98103                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $134.88
          Gordon Truck Centers, Inc.                                            Contingent
          277 Stewart Rd. SW                                                    Unliquidated
          Pacific, WA 98047                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6635
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $440.93
          Granite                                                               Contingent
          POB 228                                                               Unliquidated
          Pacifica, CA 94044                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3182
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $59,991.00
          Hedrickson Truck Lines                                                Contingent
          PO Box 150290                                                         Unliquidated
          Ogden, UT 84415                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Henderson Truck Lines                                                 Contingent
          c/o Montgomery Cobb                                                   Unliquidated
          1001 SW 5th Ave. Ste. 1100                                            Disputed
          Beavercreek, OR 97004
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $30.00
          Hertz Processing Services                                             Contingent
          PO Box 956649                                                         Unliquidated
          Saint Louis, MO 63195                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $351.01
          High's Trailer Repair                                                 Contingent
          PO Box 23036                                                          Unliquidated
          Federal Way, WA 98093                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $504,094.20
          Horizon Snack Food                                                    Contingent
          197 Darcy Parkway                                                     Unliquidated
          Lathrop, CA 95330                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5999
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $390.00
          Hyundai Air & Water Tech, Inc.                                        Contingent
          20140 SW 112th Ave.                                                   Unliquidated
          Tualatin, OR 97062                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $900.00
          Immix Law Group                                                       Contingent
          600 NW Naito Pkwy.                                                    Unliquidated
          Suite G                                                               Disputed
          Portland, OR 97209
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $472,146.50
          Inter-American Products                                               Contingent
          3508 Solutions Center                                                 Unliquidated
          Chicago, IL 60677                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8471
                                                                             Is the claim subject to offset?     No       Yes




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 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,766.51
          International Paper                                                   Contingent
          PO Box 676565                                                         Unliquidated
          Dallas, TX 75267                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $520.00
          J&J Towing                                                            Contingent
          30385 Oldfield St.                                                    Unliquidated
          Hermiston, OR 97838                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Jon R. Jones                                                          Contingent
          PO Box 2890                                                           Unliquidated
          Clackamas, OR 97015                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,307,079.00
          Juanita's Fine Foods                                                  Contingent
          2885 Van Horn Dr.                                                     Unliquidated
          Hood River, OR 97031                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $933,590.50
          Juanita's of Stockton                                                 Contingent
          2885 Van Horn Dr.                                                     Unliquidated
          Hood River, OR 97031                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $11,369.60
          La Bonita Mexican Bakery                                              Contingent
          3545 Portland Rd. NE                                                  Unliquidated
          Suite 180                                                             Disputed
          Salem, OR 97301
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $56,442.90
          La Habra Bakery                                                       Contingent
          3508 Solutions Center                                                 Unliquidated
          Chicago, IL 60677                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $141.00
          LANDA Northwest                                                       Contingent
          PO Box 20037                                                          Unliquidated
          Portland, OR 97294                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0700
                                                                             Is the claim subject to offset?     No       Yes

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $15,168.00
          Laura Scudder's                                                       Contingent
          Attn: Michael Gallegos                                                Unliquidated
          PO Box 8129                                                           Disputed
          Newport Beach, CA 92658
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $211.60
          Legacy Labaratory Service                                             Contingent
          PO Nox 5337                                                           Unliquidated
          Portland, OR 97228                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $270.60
          Legacy Laboratory Service                                             Contingent
          PO Box 5337                                                           Unliquidated
          Portland, OR 97228                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,243.16
          LIT Commerce Distribution Center, LLC                                 Contingent
          c/o Cushman & Wakefield                                               Unliquidated
          900 Wilshire Blvd. Ste. 2400                                          Disputed
          Los Angeles, CA 90017
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $130.78
          Los Angeles Freightliners                                             Contingent
          PO Box 101284                                                         Unliquidated
          Pasadena, CA 91189                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $26.50
          Lourdes Occupational Health Center                                    Contingent
          PO Box 94331                                                          Unliquidated
          Seattle, WA 98124                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Three J's Distributing, Inc.                                                            Case number (if known)            18-32288-pcm7
              Name

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,205,043.00
          Lucerne Foods, Inc.                                                   Contingent
          4757 Collection Center Dr.                                            Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $42,583.49
          Lucerne Foods, Inc.                                                   Contingent
          4757 Collection Center Dr.                                            Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $22,492.80
          Mary Ann's Baking                                                     Contingent
          8371 Carbide Ct.                                                      Unliquidated
          Sacramento, CA 95828                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3000
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $274.99
          McCoy Freightliner                                                    Contingent
          PO Box 17218                                                          Unliquidated
          Portland, OR 97218                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1654
                                                                             Is the claim subject to offset?     No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $57,737.16
          Mi Rancho                                                             Contingent
          801 Purvis                                                            Unliquidated
          Clovis, CA 93612                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5724
                                                                             Is the claim subject to offset?     No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $339.41
          Minuteman Press Team                                                  Contingent
          3382 SE 20th Ave.                                                     Unliquidated
          Portland, OR 97202                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5670
                                                                             Is the claim subject to offset?     No       Yes

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $117.56
          Moni Smart Security                                                   Contingent
          Dept. Ch 8628                                                         Unliquidated
          Palatine, IL 60055                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5649
                                                                             Is the claim subject to offset?     No       Yes




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 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $52.54
          Monitronics                                                           Contingent
          Dept. CH 8628                                                         Unliquidated
          Palatine, IL 60055                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,748.82
          Naturebake                                                            Contingent
          PO Box 398443                                                         Unliquidated
          San Francisco, CA 94139                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $250.00
          New Century Transport, LLC                                            Contingent
          250 H Street                                                          Unliquidated
          Suite 311                                                             Disputed
          Blaine, WA 98230
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       1660                         Is the claim subject to offset?     No       Yes


 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $73.89
          Norlift of Oregon, Inc.                                               Contingent
          PO Box 68348                                                          Unliquidated
          Portland, OR 97268                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,307.64
          North State Staffing                                                  Contingent
          c/o ANthont E. Galyean                                                Unliquidated
          1129 D Street                                                         Disputed
          Marysville, CA 95901
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $633.50
          NW Lift Truck Services                                                Contingent
          13691 NE Whitaker Way                                                 Unliquidated
          Portland, OR 97230                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5243
                                                                             Is the claim subject to offset?     No       Yes

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,588.24
          NW Natural                                                            Contingent
          PO Box 6017                                                           Unliquidated
          Portland, OR 97228                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2213;3974
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Three J's Distributing, Inc.                                                            Case number (if known)            18-32288-pcm7
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 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $133,321.80
          Oasis Bread                                                           Contingent
          155 Mata Way #112                                                     Unliquidated
          San Marcos, CA 92069                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $644.39
          Oregon Commercial Heating, Inc.                                       Contingent
          PO Box 1080                                                           Unliquidated
          Molalla, OR 97038                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $423.75
          Oregon Trucking Associations                                          Contingent
          4005 SE Naef Rd.                                                      Unliquidated
          Portland, OR 97267                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,996.00
          Oregon Wire Products, LLC                                             Contingent
          PO Box 20279                                                          Unliquidated
          Portland, OR 97294                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $153.88
          Pacific Gas & Electric                                                Contingent
          26000 Cannon Road                                                     Unliquidated
          Bedford, OH 44146                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6581
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $173,883.60
          Papa Pita Bakery                                                      Contingent
          6208 W. Dannon Way                                                    Unliquidated
          West Jordan, UT 84088                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $172,345.40
          Papa Pita DC                                                          Contingent
          6208 W. Dannon Way                                                    Unliquidated
          West Jordan, UT 84088                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,192.00
          Passport Foods                                                        Contingent
          2539 E Philadelphia St.                                               Unliquidated
          Ontario, CA 91761                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,022.50
          Patriot Environmental                                                 Contingent
          508 East E Street                                                     Unliquidated
          Unit A                                                                Disputed
          Wilmington, CA 90744
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       0094                         Is the claim subject to offset?     No       Yes


 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,022.60
          Patriot Environmental                                                 Contingent
          508 East E Street                                                     Unliquidated
          Unit A                                                                Disputed
          Wilmington, CA 90744
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       0094                         Is the claim subject to offset?     No       Yes


 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $963.85
          Penske Truck Leasing Co., L.P.                                        Contingent
          PO Box 7429                                                           Unliquidated
          Pasadena, CA 91109                                                    Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $305.55
          PG&E                                                                  Contingent
          PO Box 997300                                                         Unliquidated
          Sacramento, CA 95899                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,347.50
          Polestar Benefits, Inc.                                               Contingent
          412 Jefferson Parkway                                                 Unliquidated
          Suite 2                                                               Disputed
          Lake Oswego, OR 97035
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $26,876.95
          Popcorn Indiana                                                       Contingent
          CL #5255                                                              Unliquidated
          PO Box 95000                                                          Disputed
          Philadelphia, PA 19195
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,224.64
          Portland General Electric                                             Contingent
          PO Box 4438                                                           Unliquidated
          Portland, OR 97208                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $254,858.50
          Portland Specialty Baking                                             Contingent
          3423 NE 172nd Place                                                   Unliquidated
          Portland, OR 97230                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $339.41
          Powell Minuteman Press                                                Contingent
          3382 SE 20th Ave.                                                     Unliquidated
          Portland, OR 97202                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5670
                                                                             Is the claim subject to offset?     No       Yes

 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $90.00
          Professional Account Management, LLC                                  Contingent
          PO Box 2182                                                           Unliquidated
          Milwaukee, WI 53201                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4090
                                                                             Is the claim subject to offset?     No       Yes

 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $270.00
          Providence Business Health Services                                   Contingent
          PO Box 4388                                                           Unliquidated
          Portland, OR 97208                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $27,093.52
          Richmond Plastics Ltd.                                                Contingent
          201 9500 Van Horne Way                                                Unliquidated
          Richmond, BC                                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $19,556.00
          Russian Chocolate, Inc.                                               Contingent
          10170 Croydon Way                                                     Unliquidated
          Unit D                                                                Disputed
          Sacramento, CA 95827
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $552.15
          Sage, LLC                                                             Contingent
          16505 NW Bethany Ct.                                                  Unliquidated
          Beaverton, OR 97006                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0001
                                                                             Is the claim subject to offset?     No       Yes

 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $600.90
          SambaSafety                                                           Contingent
          11040 White Rock Rd.                                                  Unliquidated
          Ste. 200                                                              Disputed
          Rancho Cordova, CA 95670
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       0031                         Is the claim subject to offset?     No       Yes


 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $731.25
          SAS Retail Services                                                   Contingent
          PO Box 3812                                                           Unliquidated
          Carol Stream, IL 60132                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $357,029.00
          SCR Air Services                                                      Contingent
          Attn: Renee Harper                                                    Unliquidated
          PO Box 68671                                                          Disputed
          Seattle, WA 98168
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       3JS                          Is the claim subject to offset?     No       Yes


 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $314.55
          Security Professionals, LLC                                           Contingent
          6400 NE Hwy 93                                                        Unliquidated
          Vancouver, WA 98665                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $13,294.33
          SL Snacks National, LLC                                               Contingent
          PO Box 281953                                                         Unliquidated
          Atlanta, GA 30384                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,400.00
          Smartway Transportation, Inc.                                         Contingent
          PO Box 24387                                                          Unliquidated
          Overland Park, KS 66283                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3110
                                                                             Is the claim subject to offset?     No       Yes




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 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $38,916.00
          Smith Cookies                                                         Contingent
          501 SE Columbia Shores Blvd.                                          Unliquidated
          Suite 900                                                             Disputed
          Vancouver, WA 98661
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $391.86
          SMUD                                                                  Contingent
          PO Box 15555                                                          Unliquidated
          Sacramento, CA 95852                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $23,473.22
          Snak King                                                             Contingent
          PO Box 748200                                                         Unliquidated
          Los Angeles, CA 90074                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $21,061.06
          Snyder's Lance                                                        Contingent
          1250 York Street                                                      Unliquidated
          Hanover, PA 17331                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2159
                                                                             Is the claim subject to offset?     No       Yes

 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $13,208.00
          Sonora Corporation                                                    Contingent
          1942 W. Mission Blvd.                                                 Unliquidated
          Pomona, CA 91766                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,593.85
          Southern California Edison                                            Contingent
          PO Box 300                                                            Unliquidated
          Rosemead, CA 91772                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,309.53
          Southwest Airlines                                                    Contingent
          PO Box 94014                                                          Unliquidated
          Palatine, IL 60094                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1803
                                                                             Is the claim subject to offset?     No       Yes




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 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $358.25
          Sparkletts                                                            Contingent
          PO Box 660579                                                         Unliquidated
          Dallas, TX 75266                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,013.00
          Sprague Pest Solutions                                                Contingent
          PO Box 2222                                                           Unliquidated
          Tacoma, WA 98401                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,219.93
          St. John's Truck & Equipment                                          Contingent
          8435 N Crawford                                                       Unliquidated
          Portland, OR 97203                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       D001
                                                                             Is the claim subject to offset?     No       Yes

 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,792.02
          Sterling National Bank                                                Contingent
          8401 N. Central Expressway, Suite 600                                 Unliquidated
          Dallas, TX 75225
                                                                                Disputed
          Date(s) debt was incurred 6/2015
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number RE01
                                                                             Is the claim subject to offset?     No       Yes

 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $277.59
          Suburban Propane                                                      Contingent
          PO Box 12068                                                          Unliquidated
          Fresno, CA 93776                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $698.50
          T-Mobile                                                              Contingent
          POB 790047                                                            Unliquidated
          Saint Louis, MO 63179                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5793
                                                                             Is the claim subject to offset?     No       Yes

 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $95.76
          Tacoma Screw Products                                                 Contingent
          PO Box 35165                                                          Unliquidated
          Seattle, WA 98124                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8801
                                                                             Is the claim subject to offset?     No       Yes




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                                                 Case 18-32288-pcm7                     Doc 31            Filed 09/11/18
 Debtor       Three J's Distributing, Inc.                                                            Case number (if known)            18-32288-pcm7
              Name

 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,772.54
          Tarrant County, Texas
          c/o Stephen T. Meeks, Esq                                             Contingent
          100 Throckmorton                                                      Unliquidated
          Suite 761                                                             Disputed
          Fort Worth, TX 76102
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Tec Equipment, Inc.                                                   Contingent
          PO Box 11272                                                          Unliquidated
          Portland, OR 97211                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $22,928.18
          The Bread Garden                                                      Contingent
          POB 1112                                                              Unliquidated
          Suite 2                                                               Disputed
          Auburn, WA 98071
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       9018                         Is the claim subject to offset?     No       Yes


 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          The Kroger Co.                                                        Contingent
          Attn: Kyle R. Grubbs, Corporate Counsel                               Unliquidated
          1014 Vine St.                                                         Disputed
          Baileys Harbor, WI 54202
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $206.21
          The Toll Roads Violation Dept.                                        Contingent
          125 Pacifica                                                          Unliquidated
          Ste. 100                                                              Disputed
          Irvine, CA 92618
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       1657                         Is the claim subject to offset?     No       Yes


 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $60,794.88
          Truco Enterprises, LP                                                 Contingent
          PO Box 310012538                                                      Unliquidated
          Pasadena, CA 91110                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $460.00
          Validity Screening Solution                                           Contingent
          PO Box 25406                                                          Unliquidated
          Overland Park, KS 66225                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8279
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $460.00
          Validity Screening Solutions                                          Contingent
          PO Box 25406                                                          Unliquidated
          Overland Park, KS 66225                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8279
                                                                             Is the claim subject to offset?     No       Yes

 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,621.18
          Verizon Wireless                                                      Contingent
          PO Box 660108                                                         Unliquidated
          Dallas, TX 75266                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,133.64
          Waste Management                                                      Contingent
          PO Box 2890                                                           Unliquidated
          Clackamas, OR 97015                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6532;1300
                                                                             Is the claim subject to offset?     No       Yes

 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,877.55
          Waste Management of Oregon                                            Contingent
          PO Box 541065                                                         Unliquidated
          Los Angeles, CA 90054                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,798.83
          Waste Management of Oregon                                            Contingent
          PO Box 541065                                                         Unliquidated
          Los Angeles, CA 90054                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $53.05
          Water Environment Services                                            Contingent
          PO Box 6940                                                           Unliquidated
          Portland, OR 97228                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          Western Concord US LTD                                                Contingent
          880 Clivedan Ave.                                                     Unliquidated
          Delta, BC V3M5R5                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.158     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $348.45
           Westrux                                                              Contingent
           PO Box 309                                                           Unliquidated
           Norwalk, CA 90651                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.159     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $19,986.00
           Wholesale Baking, Inc.                                               Contingent
           2809 Market St.                                                      Unliquidated
           Hood River, OR 97031                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.160     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $2,761.48
           Xtra Lease LLC                                                       Contingent
           PO Box 219562                                                        Unliquidated
           Kansas City, MO 64121                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.161     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              Unknown
           Yogo Food Brands, Inc.                                               Contingent
           1153 Lee St.                                                         Unliquidated
           Suite 268                                                            Disputed
           Des Plaines, IL 60016
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?      No       Yes


 3.162     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $10,571.53
           Zarosinki Law Group, P.C.                                            Contingent
           520 SW 6th Ave.                                                      Unliquidated
           Suite 1200                                                           Disputed
           Portland, OR 97204
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?      No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any
 4.1       Cintas Corporation
           9045 N Ramsey Blvd.                                                                        Line     3.28
           Portland, OR 97203
                                                                                                             Not listed. Explain

 4.2       Cintas Corporation
           PO Box 29059                                                                               Line     3.28
           Phoenix, AZ 85038
                                                                                                             Not listed. Explain




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              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                 related creditor (if any) listed?             account number, if
                                                                                                                                               any
 4.3       Cintas Corporation
           PO Box 740855                                                                         Line     3.28
           Cincinnati, OH 45274
                                                                                                        Not listed. Explain

 4.4       Eurobake Corporation
           c/o Paul Galm                                                                         Line     3.45
           12220 SW First St.
                                                                                                        Not listed. Explain
           Beaverton, OR 97005

 4.5       Go Trade Logistics Corp.
           c/o Patricia J. Wolfe                                                                 Line     3.60
           Finnerty Law Offices, Inc.
                                                                                                        Not listed. Explain
           1430 Blue Oaks Blvd., Suite 200
           Roseville, CA 95747

 4.6       Sprague Pest Solutions
           c/o ARM Solutions                                                                     Line     3.138
           PO Box 2890
                                                                                                        Not listed. Explain
           Camarillo, CA 93011


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                     16,072.46
 5b. Total claims from Part 2                                                                       5b.    +     $                  9,004,242.63

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.          $                    9,020,315.09




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 Fill in this information to identify the case:

 Debtor name         Three J's Distributing, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)         18-32288-pcm7
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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                                                 Case 18-32288-pcm7            Doc 31         Filed 09/11/18
 Fill in this information to identify the case:

 Debtor name         Three J's Distributing, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)         18-32288-pcm7
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Constantin F.                     5830 SW 177th Ave.                                Christopher & Cheryl               D   2.1
             Ionescu                           Aloha, OR 97007                                   Church                             E/F
                                                                                                                                    G




    2.2      Jon Jones                         13331 S. James Court                              Christopher & Cheryl               D   2.1
                                               Oregon City, OR 97045                             Church                             E/F
                                                                                                                                    G




Official Form 206H                                                       Schedule H: Your Codebtors                                           Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Three J's Distributing, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)         18-32288-pcm7
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                           $25,000,000.00
       From 11/01/2018 to Filing Date
                                                                                                   Other    Business Operations


       For prior year:                                                                             Operating a business                           $79,472,976.00
       From 11/01/2017 to Filing Date
                                                                                                   Other    Business Operations


       For year before that:                                                                       Operating a business                          $110,390,085.00
       From 11/01/2016 to 10/31/2017
                                                                                                   Other    Business Operations

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       Three J's Distributing, Inc.                                                              Case number (if known) 18-32288-pcm7



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               BeniComp, Inc.                                              3/13/2018,                       $14,355.08           Secured debt
                                                                           3/27/2018                                             Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.2.
               Teeny Foods Corp.                                           3/27/18,                         $90,618.84           Secured debt
               3434 NE 170th Pl.                                           3/29/18                                               Unsecured loan repayments
               Portland, OR 97230
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.3.
               Juanita's Fine Foods                                        5/1/18                           $23,088.00           Secured debt
               2885 Van Horn Dr.                                                                                                 Unsecured loan repayments
               Hood River, OR 97031
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.4.
               SCR Air Services                                            3/29/18,                         $20,679.00           Secured debt
               Attn: Renee Harper                                          4/4/18, 4/5/18                                        Unsecured loan repayments
               PO Box 68671                                                                                                      Suppliers or vendors
               Seattle, WA 98168
                                                                                                                                 Services
                                                                                                                                 Other


       3.5.
               Christopher & Cheryl Church                                 1/30/2018                          Unknown            Secured debt
               5433 SE Scenic Lane, #200                                                                                         Unsecured loan repayments
               Vancouver, WA 98661                                                                                               Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                  Other UCC-1 financing
                                                                                                                               statement filed to re-perfect
                                                                                                                               lapsed financing statement

       3.6.
               Bridgepoint Consulting                                      3/31/18                          $24,592.98           Secured debt
               325 North Saint Paul Street                                                                                       Unsecured loan repayments
               Suite 2550                                                                                                        Suppliers or vendors
               Dallas, TX 75201
                                                                                                                                 Services
                                                                                                                                 Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor




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       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Christopher & Cheryl Church                                 2017-2018                       $112,000.00           Monthly payments on loans
               c/o Darin Honn                                                                                                    owed by Debtor's principals.
               Sussman Shank
               1000 SW Broadway, Suite 1400
               Portland, OR 97204
               Former Shareholders

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property

       Bennett/Porter & Associates, Inc.                         HP Proliant ML 10 v2 Backup Server                            8/18                         Unknown
       12559 SW 69th Ave.
       Portland, OR 97233


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Go Trade Logisitics Corp. v.                      Civil: Contract            U.S. Dist. Court Eastern                     Pending
               Three J's Distributing, Inc.                                                 District of CA                               On appeal
               2:2018-cv-02293                                                              United States Courthouse
                                                                                                                                         Concluded
                                                                                            501 "I" Street, Room 4-200
                                                                                            Sacramento, CA 95814

       7.2.    Hendrickson Truck Lines, Inc.                     Civil: Contract            Oregon Circuit Court                         Pending
               v. Three J's Distributing, Inc.                                              Clackamas County                             On appeal
               18CV22918                                                                    807 Main Street
                                                                                                                                         Concluded
                                                                                            Oregon City, OR 97045

       7.3.    Eurobake Corp. v. Three J.s                       Civil: Contract            Oregon Circuit Court                         Pending
               Distributing, Inc.                                                           Clackamas County                             On appeal
               18CV17542                                                                    807 Main Street
                                                                                                                                         Concluded
                                                                                            Oregon City, OR 97045

       7.4.    Farmer Bros. Co. v. Three J's                     Civil: Contract            Oregon Circuit Court                         Pending
               Distributing, Inc.                                                           Clackamas County                             On appeal
               18CV17542                                                                    807 Main Street
                                                                                                                                         Concluded
                                                                                            Oregon City, OR 97045


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               Case title                                        Nature of case               Court or agency's name and          Status of case
               Case number                                                                    address
       7.5.    MYOB, LLC v. Three J's                            Civil: Contract              Oregon Circuit Court                     Pending
               Distributing, Inc.                                                             Clackamas County                         On appeal
               18CV14018                                                                      807 Main Street
                                                                                                                                       Concluded
                                                                                              Oregon City, OR 97045

       7.6.    Tarrant County, et al v. Three                    Tax Collection               Tarrant County District                  Pending
               J's Distributing, Inc.                                                         Court, TX                                On appeal
               096-D17204-18
                                                                                                                                       Concluded

       7.7.    North State Staffing &                            Civil                        Superior County of CA,                   Pending
               Business Solutions, Inc. v.                                                    Sutter County                            On appeal
               Three J's Distributing, Inc.
                                                                                                                                       Concluded
               CVCM18-0000765

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None

       Custodian's name and Address                              Describe the property                                                 Value
       Kenneth S. Eiler, P.C.                                    All of the Debtor's Assets assigned to Assignee on
       PMB 810                                                   June 20, 2018, pursuant to Common Law
       515 NW Saltzman Rd.                                       Assignment for the Benefit of Creditors of Three J's
                                                                 Distributing, Inc.                                                                       Unknown
       Portland, OR 97229
                                                                 Case title                                                            Court name and address
                                                                 n/a                                                                   n/a
                                                                 Case number                                                           n/a
                                                                 n/a
                                                                 Date of order or assignment
                                                                 n/a


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                Dates of loss             Value of property
       how the loss occurred                                                                                                                                    lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy


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    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates            Total amount or
                 the transfer?                                                                                                                           value
                 Address
       11.1.     Motschenbacher & Blattner,
                 LLP
                 117 SW Taylor St., Suite 300
                 Portland, OR 97204                                                                                            4/13/18              $50,000.00

                 Email or website address
                 www.portlaw.com

                 Who made the payment, if not debtor?




       11.2.                                                                                                                   Multiple
                                                                                                                               payments:
                 Bridgepoint Consulting                                                                                        12/2017;
                 325 North Saint Paul Street                                                                                   1/2018;
                 Suite 2550                                                                                                    2/2018;
                 Dallas, TX 75201                                                                                              3/2018             $212,345.99

                 Email or website address
                 www.bridgepointconsulting.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

       Name of trust or device                                       Describe any property transferred                Dates transfers           Total amount or
                                                                                                                      were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

                Who received transfer?                           Description of property transferred or                  Date transfer          Total amount or
                Address                                          payments received or debts paid in exchange             was made                        value
       13.1 Unknown Third-Parties                                Office furniture sold through Craigslist
       .                                                         advertising                                             5/2018                       $7,500.00

                Relationship to debtor
                n/a




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               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value
       13.2 Unrelated Auction Buyers
       .    Unknown                                              See Docket No. 16, Exhibits A and B                     Various                     $226,152.40

               Relationship to debtor
               n/a


       13.3 Juanita's Fine Foods
       .    2885 Van Horn Dr.
               Hood River, OR 97031                              See Docket No. 16, Exhibit C                            8/9/18                      $150,800.00

               Relationship to debtor
               Vendor Creditor


       13.4 Hagerman, Inc.
       .    7100 NE Columbia Blvd
               Portland, OR 97218                                See Attachment 13                                       Various                              $0.00

               Relationship to debtor
               n/a


 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.

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                       Yes. Fill in below:

 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.1.     Union Bank                                      XXXX-3929                   Checking                 6/2018                         Unknown
                 Portland Mid Market                                                         Savings
                 Treasury Services
                                                                                             Money Market
                 PO Box 513840
                                                                                             Brokerage
                 Los Angeles, CA 90051
                                                                                             Other

       18.2.     Union Bank                                      XXXX-3953                   Checking                 6/2018                         Unknown
                 Portland Mid Market                                                         Savings
                 Treasury Services
                                                                                             Money Market
                 PO Box 513840
                                                                                             Brokerage
                 Los Angeles, CA 90051
                                                                                             Other

       18.3.     Union Bank                                      XXXX-3961                   Checking                 6/2018                         Unknown
                 Portland Mid Market                                                         Savings
                 Treasury Services
                                                                                             Money Market
                 PO Box 513840
                                                                                             Brokerage
                 Los Angeles, CA 90051
                                                                                             Other

       18.4.     Union Bank                                      XXXX-0917                   Checking                 6/2018                         Unknown
                 Portland Mid Market                                                         Savings
                 Treasury Services
                                                                                             Money Market
                 PO Box 513840
                                                                                             Brokerage
                 Los Angeles, CA 90051
                                                                                             Other

       18.5.     Union Bank                                      XXXX-3899                   Checking                 6/2018                         Unknown
                 Portland Mid Market                                                         Savings
                 Treasury Services
                                                                                             Money Market
                 PO Box 513840
                                                                                             Brokerage
                 Los Angeles, CA 90051
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


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          None

       Facility name and address                                     Names of anyone with                 Description of the contents                   Do you still
                                                                     access to it                                                                       have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

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    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    Epic Distribution of                             Regional Wholesale Distribution                  EIN:
             California, LLC
             3352 Atlas Street                                                                                 From-To      1/21/2014 - 4/3/2017
             San Diego, CA 92111

    25.2.    Epic Distribution of Texas,                      Regional Wholesale Distribution                  EIN:
             LLC
             211 E. 7th Street, Suite 620                                                                      From-To      1/2014 - 12/2016
             Austin, TX 78701


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       TD Consulting Group, PC                                                                                                    2014-present
                    6400 SE Lake Rd., Ste 150
                    Portland, OR 97222-2189

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Geffen Mensher                                                                                                             10/2017
                    888 SW 5th Ave., Suite 800
                    Portland, OR 97204

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Kelly Edwards
                    12671 Villard Pl.
                    Oregon City, OR 97045
       26c.2.       Jon Jones
                    13331 S. James Court
                    Oregon City, OR 97045
       26c.3.       TD Consulting Group, PC
                    6400 SE Lake Rd., Ste 150
                    Portland, OR 97222-2189

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address




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       Name and address
       26d.1.       Christopher & Cheryl Church
                    c/o Darin Honn
                    Sussman Shank
                    1000 SW Broadway, Suite 1400
                    Portland, OR 97204
       26d.2.       Sterling National Bank
                    8401 N. Central Expressway, Suite 600
                    Dallas, TX 75225

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Jon Jones                                      13331 S. James Court                                President, Shareholder                50
                                                      Oregon City, OR 97045

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Constantin F. Ionescu                          5830 SW 177th Ave.                                  Vice President, Secretary             50
                                                      Aloha, OR 97007



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

                Name and address of recipient                    Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value
       30.1 Jon Jones
       .    13331 S. James Court
                Oregon City, OR 97045                                                                                                       Salary, Loans

                Relationship to debtor
                President, Sharheolder




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               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.2 Constantin F. Ionescu
       .    5830 SW 177th Ave.
               Aloha, OR 97007                                                                                                             Salary, Loans

               Relationship to debtor
               Secretary, Shareholder


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         September 11, 2018

 /s/ Jon Jones                                                          Jon Jones
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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